            Case 5:18-cr-00101-R Document 1 Filed 04/17/18 Page 1 of 6




             IN THE UNITED STATES DISTRICT COURT FOR THE
                       WESTERN DISTRICT OF OKLAHOMA                               APR 1 7 2018
                                                                          CARMELITA REEDER SHINN, CLERK
UNITED STATES OF AMERICA,

                     Plaintiff,

              -vs-                                 No.


DEMARR FANNELL GREER,                              Violation:     18 U.S.C. § 1343


                     Defendant.


                                   INDICTMENT



The Federal Grand Jury charges:

                                        Introduction


At all times relevant to this Indictment:


       1.     Consumer reporting agencies, or CRAs, are businesses that collect and

aggregate credit information about individuals into credit reports, which are used by

banks, credit unions, credit card issuers, and other lenders for the purpose of evaluating

the credit-worthiness of a prospective borrower. TransUnion LLC ("TransUnion") and

Experian Information Solutions, Inc. ("Experian") are two of the largest CRAs in the

United States.


       2.     CRAs like TransUnion and Experian prepare credit reports by collecting

tradelines, or detailed information regarding each line of credit extended to a particular

borrower, such as payment history, balance information, available credit limit, and length
             Case 5:18-cr-00101-R Document 1 Filed 04/17/18 Page 2 of 6




of credit history. CRAs use this tradehne information to generate a credit score for a

borrower based upon a statistical evaluation of the borrower's credit historyand credit

risk.


        3.     CRAs prepare credit reports for an individual by using the individual's

unique personal identifiers, including the individual's Social SecurityNumber (SSN), a

unique nine-digitnumber assignedto an individual by the Commissioner of Social

Security. SSNs are typically assigned to an individual at birth.

        4.     CRAs generate credit reports and credit scores for an individual only when

the individual applies for credit. As a result, young children who have had no reason to

apply for credit generally have no credit history and no credit report.

        5.     Real, misappropriated SSNs, often assigned to children, are stolen and sold

online as "credit profile numbers," "credit privacy numbers," or "credit protection

numbers" (collectively "CPNs"). CPNs are marketed to and used by individuals who

have a poor credit history as a way to obtain credit cards, loans, and other lines of credit

for which they would not otherwise qualify.

        6.     Purchasers or users of a CPN can thereafter attach their name to the

misappropriated SSN to create a fraudulent credit profile with the CRAs. Once the

fraudulent credit profile is established, a good credit history can be created by

"pollinating" the credit profile with tradelines. For example, a common way to obtain a

tradeline is for an individual who has a misappropriated SSN to be added as an
             Case 5:18-cr-00101-R Document 1 Filed 04/17/18 Page 3 of 6




authorized user on an existing credit card or charge account with a good payment history.

This causes the misappropriated SSN to appear to have a favorable credit history. Once

the fraudulent credit profile is pollinated with a few positive tradelines, the

misappropriated SSN is used to obtain additional credit.

       7.      The Commissioner of Social Security assigned SSN XXX-XX-3091 to a

child bom in 2004.


                                       COUNTS 1-2
                                       (Wire Fraud)

       8.      The Federal Grand Jury incorporates Paragraphs 1 through 7 by reference.

                                  The Scheme to Defraud

       9.      Beginning no later than February 2016, and continuing through at least

August 2016, DEMARR FANNELL GREER devised and intended to devise a scheme

to defraud credit card issuers, automobile dealers, and other lenders in a material manner,

and to obtain money and property by means of materially false and fraudulent pretenses,

representations, and promises, through the use of CPNs.

                                  Purpose of the Scheme


       10.     It was the purpose of the scheme that GREER used CPNs to misrepresent

his SSN to credit card issuers, automobile dealers, and other lenders in order to falsely

represent to them that he had a credit history more favorable than was actually the case,

for purposes of obtaining credit cards, vehicles, and other merchandise.
      Case 5:18-cr-00101-R Document 1 Filed 04/17/18 Page 4 of 6




                             Manner and Means


11.     It was part of the scheme that:

       a.      GREER obtained a CPN, which was actually an SSN appropriated

from a real person,          who was bom in 2004.

       b.      GREER caused CRAs to create fraudulent credit profiles using his

real name and the misappropriated SSN.

       c.      GREER caused CRAs to attach tradelines to the fraudulent credit


profiles in order to establish a good credit history for those credit profiles.

       d.      GREER thereafter used the misappropriated SSN to submit

materially false and fraudulent loan applications to credit card issuers, automobile

dealers, and other lenders in order to obtain credit cards, and purchase vehicles

and other merchandise.


       e.     Using the misappropriated SSNs, lenders electronically contacted

CRAs to obtain credit reports purportedly associated with GREER.

       f.     Lenders thereafter issued credit to GREER believing that his credit

history was better than it actually was.

       g.     GREER obtained credit cards and an automobile using a CPN, and

thereafter made little to no payments on the credit accounts, causing losses to the

lenders.
              Case 5:18-cr-00101-R Document 1 Filed 04/17/18 Page 5 of 6




                                 Executions of the Scheme


        12.     On or about each of the dates set forth below, in the Western District of

Oklahoma and elsewhere,

                              -DEMARR FANNELL GREER,-

the defendant herein, for the purpose of executing the above-described scheme to

defraud, caused signals to be transmitted by means of wire communications in interstate

commerce:



  Count         Date               Lender                           Description
                                                        GREER submitted an online
                                                        application for a Discover Card,
                                                        falsely representing his SSN to be
    1         02/24/16             Discover             XXX-XX-3091, which application
                                                        was transmitted to Discover by
                                                        means of wire communication in
                                                        interstate commerce.
                                                        GREER submitted an application
                                                        for the lease of a 2016 Dodge crew
                                                        cab pickup truck in the total
                                                        amount of $30,358.78, falsely
    2         08/15/16         Chrysler Capital         representing his SSN to be XXX-
                                                        XX-3091, which application was
                                                        transmitted to a lender by means
                                                        of wire communication in
                                                        interstate commerce.
           Case 5:18-cr-00101-R Document 1 Filed 04/17/18 Page 6 of 6




      All in violation of Title 18, United States Code, Section 1343.


                                            A TRUE BILL:


                                                       A
                                            FOREPERSON OF THE GRAND JURY

ROBERT J. TROESTER
Acting United States Attorney



TIMOTHY W. OGILVIE
Assistant U.S. Attorney
